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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
                                                    X

                                    :
                                    :                     Misc. Action No. 19-mc-0051 (EGS)
IN THE MATTER OF THE APPLICATION OF :
WP COMPANY LLC d/b/a THE            :
WASHINGTON POST FOR ACCESS TO       :                   ORAL HEARING REQUESTED
CERTAIN SEALED COURT RECORDS        :
                                    :
                                    :
                                                    X


                   SUPPLEMENTAL MOTION FOR PUBLIC ACCESS
                      TO CERTAIN SEALED COURT RECORDS

       WP Company LLC d/b/a The Washington Post (the “Post”), by and through its

undersigned counsel, for the reasons stated herein, respectfully moves the Court pursuant to

Local Criminal Rule 57.6, for an Order unsealing certain sealed court records docketed in the

criminal case captioned United States v. Michael T. Flynn, No. 17-cr-232 (EGS) (the “Flynn

Case”). Specifically, the Post seeks the unsealing of the unredacted version of the “January 24,

2017 FD-302, which was drafted immediately after Mr. Flynn’s FBI interview” referred to in the

Court’s second minute order of December 17, 2018 in the Flynn Case, which the Court ordered

the Government to file with the Court because the document “is relevant to Mr. Flynn’s

sentencing” (the “January 24 FD-302”). Pursuant to the Court’s further order, the Government

also publicly filed a redacted version of the January 24 FD-302, which is docketed at ECF No.

62-1 in the Flynn Case.1 With this motion, the Post seeks public access to the currently sealed,

unredacted version of the January 24 FD-302.



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 In a letter accompanying the filing, the Government explained that it was filing two
substantively identical redacted versions of the January 24 FD-302, with the only difference
between the two versions that the first version inadvertently contained a header labeled “DRAFT
DOCUMENT/DELIBERATIVE MATERIAL,” which was removed from the second version.
See Flynn Case, ECF No. 62

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       This motion is intended to supplement the Post’s prior request for unsealing of other

court records in the Flynn Case. See ECF No. 1 (the “Original Motion”). The Post refers the

Court to the Memorandum of Points and Authorities filed with the Original Motion (ECF No. 1-

1) for discussion of the reasons to unseal the documents in the Flynn Case, which apply with

equal force to the documents at issue in the instant motion.

       The Post has conferred with the parties in the Flynn Case (who have now appeared in this

action as well), and they do not consent to this relief.

Background and Reasons to Grant the Motion

       On April 12, 2019, the Post filed the Original Motion on the Court’s miscellaneous

docket. The case was assigned to this Court on April 17, 2019. See ECF No. 1. On May 3,

2019, the Court entered the parties’ proposed briefing schedule for the Original Motion setting

the deadline for the Government to respond as May 14, 2019, and the deadline for the Defendant

to file any further response as May 21, 2019, and the deadline for any reply by the Post as May

31, 2019. The same day, the Court sua sponte scheduled a hearing on the Original Motion for

June 24, 2019.

         On May 14, 2019, the Government filed a response to the Original Motion. See ECF

No. 8. In that filing, the Government acknowledged that changed circumstances had diminished

its interests in keeping all of the redacted information at issue in the Original Motion under seal.

See id. at 1. In particular, in the time since the Court originally allowed the parties to file those

documents under seal, the Office of Special Counsel (“OSC”) investigation into Russian

interference in the 2016 Presidential Election ended, the OSC’s final report of that investigation

(the “Mueller Report”) was delivered to the Attorney General, and a partially redacted version of

the Mueller Report was released to the public. Accordingly, the Government filed a motion in

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the Flynn Case to partially unseal three of the four documents at issue in the Original Motion.

See id. at 4 n.1

        On May 16, 2019, implicitly agreeing that changed circumstances merited at least partial

unsealing of the documents, the Court granted the Government’s motion, and ordered the Clerk

of Court to file the partially unredacted versions of those three documents on the public docket.

See Flynn Case, First Minute Order (May 16, 2019); Flynn Case ECF Nos. 75-77. The same

day, the Court issued two further orders in the Flynn Case: (1) that the Government file on the

public docket the transcript of the “voicemail recording” referred to in the unredacted version of

the Addendum to the Government’s Memorandum in Aid of Sentencing, as well as the

transcripts of “any other audio recordings of Mr. Flynn, including, but not limited to, audio

recordings of Mr. Flynn's conversations with Russian officials,” no later than May 31, 2019; and

(2) that the Government file the publicly-available version of the Mueller Report by May 17,

2019, and that the Government file an unredacted version of those portions of the Mueller Report

that relate to the Defendant by May 31, 2019. See Flynn Case, Second and Third Minute Orders

(May 16, 2019). The Government filed the publicly available version of the Mueller Report on

the public docket on May 17, 2019. See Flynn Case, ECF No. 79.

        On May 21, 2019, the Defendant filed a response to the Original Motion, opposing any

unsealing of the redacted information in his sentencing memorandum, but taking no position on

the Post’s request to unseal unredacted version of the other documents at issue in the Original

Motion (which had been filed by the Government). See ECF No. 10.

        In light of the Court’s orders of May 16, 2019 granting the Government’s motion to

partially unseal some of the documents at issue in the Original Motion and ordering that further




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materials relevant to the Flynn Case be publicly filed, the Post submits that the January 24 FD-

302 should be unsealed as well.

       As further set forth in the Memorandum of Points and Authorities accompanying the

Original Motion, the public has a qualified right of access to this document under both the First

Amendment and the common law. In particular, because the Court has expressly held that

January 24 FD-302 “is relevant to Mr. Flynn’s sentencing” (Flynn Case, Second Minute Order

(Dec. 17, 2018)), the First Amendment right of access attaches. See ECF No. 1-1 at 5-6

(discussing First Amendment right of access to court filings related to sentencing). Indeed,

among the documents that were further unsealed on May 16 are two other FD-302 reports related

to the investigation of the Defendant, which the Court had previously stated were relevant to the

Defendant’s sentencing. See Flynn Case, Third Minute Order (Dec. 12, 2018); Flynn Case, ECF

Nos. 76-77. Absent specific findings establishing that a compelling interest requires continued

sealing of the January 24 FD-302, and that the redactions in place are narrowly tailored to

achieve that interest, the Court should order the material unsealed.

       At a minimum, the Government should be required to reassess whether it believes

continued sealing is necessary in light of changed circumstances, and to seek unsealing as

appropriate (as it did with respect to the documents at issue in the Original Motion). At the

teleconference among the parties, the Government agreed to initiate that review, with the

expectation that any determination will be made by or before the agreed-upon response date of

June 7, 2019. The Post appreciates the Government’s efforts on this front to date, but,

ultimately, it is the Court that must determine whether compelling interests justify the continued

redaction of any material that the Government seeks to keep under seal. See Press-Enter. Co. v.

Superior Court of California, Riverside Cty., 464 U.S. 501, 510 (1984).

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Relief Requested

       WHEREFORE, for the reasons stated herein and in the accompanying and Memorandum

of Points and Authorities accompanying the Original Motion, the Post respectfully requests that

the Court enter an Order unsealing the requested court documents.

                             REQUEST FOR ORAL HEARING

       The Post respectfully requests that this motion be addressed at the oral hearing schedule

for June 24, 2019 for the Original Motion.

Dated: May 24, 2019

                                             Respectfully submitted,

                                             DAVIS WRIGHT TREMAINE LLP


                                             By: /s/ Laura R. Handman

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of May, 2019, I caused a true and correct copy of

the foregoing Supplemental Motion for Public Access to Certain Sealed Court records and

Proposed Order, to be served by electronic filing through the Court’s CM/ECF system on:

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